      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 1 of 15




 1   DAVID J. MICLEAN (SBN 115098)
 2   dmiclean@micleangleason.com
     MICLEAN GLEASON LLP
 3   1301 Shoreway Road, Suite 290
 4   Belmont, CA 94002
     Telephone: (650) 684-1181
 5
 6   SHAWN J. KOLITCH (Pro Hac Vice Pending)
 7   E-mail: shawn@kolitchromano.com
     Oregon State Bar No. 063980
 8   KOLITCH ROMANO LLP
 9   520 SW Yamhill Street, Suite 200
10   Portland, OR 97204
     Telephone: (503) 994-1650
11   Facsimile: (971) 279-4549
12
     Attorneys for Plaintiff
13
     FUTURE MOTION, INC.
14
15
                              UNITED STATES DISTRICT COURT
16
17                       NORTHERN DISTRICT OF CALIFORNIA
18   FUTURE MOTION, INC., a Delaware           Case No. 3:21-cv-06771-EMC
19   Corporation,
20
                 Plaintiff,                    PLAINTIFF’S OPPOSITION TO
21                                             DEFENDANT’S MOTION TO DISMISS
22         v.
                                               Honorable Edward M. Chen
23   JW BATTERIES LLC, a Texas Company,
                                               Date: Dec. 9, 2021
24                                             Time: 1:30 PM
                 Defendant.
                                               Courtroom 5, 17th Floor
25

26

27

28




                                                1
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 2 of 15




 1   Contents
 2
 3   I.     INTRODUCTION .................................................................................................... 4
 4   II.    BACKGROUND ...................................................................................................... 4
 5   III.   THE COURT HAS PERSONAL JURISDICTION OVER DEFENDANT ............ 6
 6          A.       This Court Can Exercise Specific Jurisdiction over JW Batteries ................ 8
 7
                     1.        Defendant Purposefully Directs Its Conduct at California ................ 8
 8
                     2.        Future Motion’s Claims Arise Out of Defendant’s Unlawful
 9
                               Contacts with California .................................................................. 13
10
11                   3.        Exercising Jurisdiction over Defendant Would Not

12                             Be Unreasonable .............................................................................. 13
13   IV.    DEFENDANT’S VENUE ARGUMENT IS REDUNDANT................................ 14
14   V.     FUTURE MOTION SHOULD BE GRANTED LEAVE TO AMEND................ 14
15   VI.    CONCLUSION ...................................................................................................... 15
16
17
18
19
20
21
22
23

24

25

26

27

28




                                                                   2
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 3 of 15




 1   Table of Authorities
 2
     Cases
 3
 4   AMA Multimedia, LLC v. Wanat, 970 F.3d 1201, 1210 (9th Cir. 2020) ............................. 9

 5   Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017)..... 8, 9, 11
 6   Bancroft & Masters v. Augusta Nat. Inc., 223 F.3d 1082, 1087 (9th Cir. 2000) ................ 6
 7   Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1127 (9th Cir. 2010) ...... 6
 8   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476–78 (1985) ...................................... 13
 9
     CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1073 (9th Cir. 2011) ............... 6
10
     Daimler AG v. Bauman, 571 U.S. 117, 125 (2014) ............................................................ 8
11
     Dole Food, Inc. v. Watts, 303 F.3d 1104, 1108 (9th Cir. 2002).................................... 6, 12
12
13
     Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) .................................................... 8

14   Lopez v. Smith, 203 F. 3d 1122, 1127 (9th Cir. 2000) ...................................................... 15
15   Mavrix Photo v. Brand Technologies Inc., 647 F.3d 1218, 1228 (9th Cir. 2011) .......... 8, 9
16   Panavision Int’l, L.P. v. Toeppen, 141 F.3d 1316, 1322 (9th Cir. 1998).......................... 13
17   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004) ................ 6
18   Walden v. Fiore, 571 U.S. 277, 287 (2014) .................................................................. 9, 11
19
     Yahoo! Inc. v. La Ligue Cantre Le Racisme Et L'Antisemitisme, 433 F.3d 1199
20
        (9th Cir. 2006) (en banc) ................................................................................................. 6
21
22
23
     Statutes
24   28 U.S.C. § 1653 ............................................................................................................... 15
25

26

27

28




                                                                        3
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 4 of 15




 1   I.     INTRODUCTION
 2
            Defendant JW Batteries LLC (“JW Batteries”) does significant business in
 3
 4   California, and California is a focal point of both Defendant’s sales and of the harm
 5
     suffered by Plaintiff Future Motion, Inc. (“Future Motion”). Specifically, Defendant
 6
 7   admits in its Motion to Dismiss that almost one-fifth of its sales and revenue are from
 8   California customers. ECF No. 16-1, ¶ 12. Given the fact that Defendant sells to 56
 9
10   separate jurisdictions, this means that Defendant’s sales to California are at least ten times

11   its average sales per jurisdiction, and California likely represents Defendant’s single
12
     largest source of sales and revenue. In addition, Defendant refers its customers for
13
14   installation of its accused JWFFM Chips to a California company that operates at least
15
     six retail locations in California, including one in Santa Cruz, where Future Motion has
16
17   its headquarters. These facts are sufficient for the Court to exercise specific personal
18
     jurisdiction over Defendant. In the event the Court disagrees and finds that the current
19
20   record is insufficient to support jurisdiction, Future Motion respectfully requests leave to
21   conduct jurisdictional discovery, and will file a suitable motion after conferring with
22
23   Defendant’s counsel. As described below, this is based on Future Motion’s reasonable

24   expectation that discovery will uncover additional jurisdictional facts.

25   II.    BACKGROUND

26          Future Motion makes and sells the extremely popular ONEWHEEL® self-

27   balancing electric skateboards, along with related accessories and services. One of Future
28   Motion’s primary concerns is user safety, which includes ensuring that the battery

     powering the electric motor in each ONEWHEEL board is always in a safe operating

                                                     4
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 5 of 15




 1   condition. If the motor operates while the battery is in an unsafe condition, this could lead
 2
     to various catastrophic results, including sudden motor shut-down or a battery fire.
 3
 4   Complaint (ECF No. 1), ¶ 27. For this reason, if the battery is not in a safe operating
 5
     condition, or does not otherwise meet Future Motion’s safety requirements, Future
 6
 7   Motion’s technological measures are designed to prevent the ONEWHEEL skateboard’s
 8   motor from operating. Complaint, ¶ 11.
 9
10          Defendant has created a business model that relies primarily, if not exclusively, on

11   hacking into the processors contained in Future Motion’s ONEWHEEL boards, to
12
     circumvent Future Motion’s technological measures for the purpose of allowing the
13
14   operation of Defendant’s own batteries that do not meet Future Motion’s safety
15
     standards, and that do not accurately communicate the condition of the battery to the
16
17   motor controller. Complaint, ¶¶ 20-26.
18
            Defendant’s motion to dismiss is based on its assertion that it does not do
19
20   sufficient business in California. This is untrue. Defendant admits that it makes almost
21   one-fifth of its sales to California, representing at least ten times Defendant’s average
22
23   sales per jurisdiction, and likely representing Defendant’s largest single sales channel. In

24   addition, Defendant has a relationship of unknown extent (which Defendant omitted from

25   its jurisdictional declaration) with a California company that installs Defendant’s accused

26   JWFFM Chips in Future Motion products based on Defendant’s recommendation to

27   customers, and presumably based on Defendant’s training, in at least six locations in
28   California. This is sufficient tortious conduct focused on California to support specific

     personal jurisdiction over Defendant.

                                                     5
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 6 of 15




 1   III.   THE COURT HAS PERSONAL JURISDICTION OVER DEFENDANT
 2
            While Future Motion bears the burden of demonstrating that this Court has
 3
 4   jurisdiction, it need only make a prima facie showing of facts that support a finding of
 5
     jurisdiction. See Dole Food, Inc. v. Watts, 303 F.3d 1104, 1108 (9th Cir. 2002). A court
 6
 7   must take uncontroverted allegations in the complaint as true. Schwarzenegger v. Fred
 8   Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). A defendant may submit a
 9
10   declaration to contradict allegations in a complaint. However, when a “defendant’s

11   motion is based on written materials rather than an evidentiary hearing, ‘the plaintiff need
12
     only make a prima facie showing of jurisdictional facts to withstand the motion to
13
14   dismiss.’” CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1073 (9th Cir. 2011)
15
     (quoting Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1127 (9th Cir.
16
17   2010)). The Court must resolve all factual disputes in Future Motion’s favor.
18
     CollegeSource, 653 F.3d at 1073; see also Bancroft & Masters v. Augusta Nat. Inc., 223
19
20   F.3d 1082, 1087 (9th Cir. 2000) (overruled in part on other grounds by Yahoo! Inc. v. La
21   Ligue Cantre Le Racisme Et L'Antisemitisme, 433 F.3d 1199 (9th Cir. 2006) (en banc)
22
23   (“Because the prima facie jurisdictional analysis requires us to accept the plaintiff’s

24   allegations as true, we must adopt [the plaintiff’s] version of events for purposes of this

25   appeal”).

26          Future Motion pled in its Complaint that JW Batteries conducts business in the

27   State of California, and that a substantial part of the events or omissions giving rise to
28   Future Motion’s claims occurred in California. Complaint, ¶¶ 7-8. Through the

     Declaration of Jim Martin (“Martin Decl.”), Defendant admits that it sells its products

                                                    6
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 7 of 15




 1   through its website at https://jwbatteries.com, which is therefore an interactive, sales-
 2
     based e-commerce website, rather than a passive website. Martin Decl., ¶ 7.
 3
 4          Defendant further states that it has shipped its products to 56 separate
 5
     jurisdictions, including California. Martin Decl., ¶ 12a. This means that Defendant has
 6
 7   shipped an average 1.79% of its products to each of the 56 jurisdictions. However,
 8   Defendant admits that it has made “[l]ess than 19 percent” of its sales, “by units and
 9
10   revenue” to California. Martin Decl., ¶ 12b. This clearly implies that Defendant has made

11   more than 18 percent of its sales to California, which is more than ten times Defendant’s
12
     average sales to each jurisdiction. California is a major focus of Defendant’s business.
13
14          Furthermore, although Defendant states that it has no “contractual relationships
15
     with anyone based in California for sales, distribution, or the like of its products” (Martin
16
17   Decl., ¶ 5), Defendant instructs its customers to have the accused JWFFM Chip installed
18
     by California-based Stoke Life Services (“SLS”) and provides contact information for
19
20   SLS on its website. Decl. of Shawn J. Kolitch in Support of Plaintiff’s Opposition to
21   Defendant’s Motion to Dismiss (“Kolitch Decl.”), ¶ 2, Ex. A. As far as Future Motion
22
23   can determine, SLS is a California corporation (Kolitch Decl., ¶ 3, Ex. B-C), the SLS

24   terms and conditions of service are explicitly governed by California law (Kolitch Decl.,

25   ¶ 3, Ex. B), and SLS operates at least six retail locations in California, including one in

26   Santa Cruz, where Future Motion is headquartered. Kolitch Decl., ¶ 4, Ex. D.

27

28




                                                     7
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 8 of 15




 1          A.     This Court Can Exercise Specific Jurisdiction over JW Batteries
 2
            As a threshold matter, Future Motion does not contend that the Court has general
 3
 4   jurisdiction over Defendant. For the following reasons, however, the Court has specific
 5
     jurisdiction over Defendant.
 6
 7          Federal due process principles determine whether a court may assert specific
 8   jurisdiction over a non-consenting defendant. See Daimler AG v. Bauman, 571 U.S. 117,
 9
10   125 (2014) (“California’s long-arm statute allows the exercise of personal jurisdiction to

11   the full extent permissible under the U.S. Constitution.”). Due process requires that a
12
     non-resident defendant have certain “minimum contacts” with the forum state “such that
13
14   the maintenance of the suit does not offend traditional notions of fair play and substantial
15
     justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (cleaned up). The
16
17   plaintiff bears the burden of proving that there are minimum contacts. Axiom Foods, Inc.
18
     v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017). In the context of a claim
19
20   arising in tort, a plaintiff generally must show (1) that the defendant purposefully directed
21   activities at the forum, and (2) that its claim “arises out of or relates to the defendant’s
22
23   forum-related activities.” Id. (citation omitted). In addition, “the exercise of jurisdiction

24   must comport with fair play and substantial justice, i.e., it must be reasonable.” Mavrix

25   Photo v. Brand Technologies Inc., 647 F.3d 1218, 1228 (9th Cir. 2011).

26                 1.     Defendant Purposefully Directs Its Conduct at California

27          The first requirement, which is sometimes called the “purposeful direction” test,

28   has three prongs. The defendant must have (1) committed an intentional act, (2) expressly

     aimed at the forum state, (3) causing harm that the defendant knows is likely to be


                                                     8
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 9 of 15




 1   suffered in the forum state.” Axiom Foods, 874 F.3d at 1069. Defendant admits that it
 2
     committed an intentional act by selling its JWFFM Chip and related batteries. Martin
 3
 4   Decl., ¶¶ 7-12. Defendant also committed the intentional act of referring customers to
 5
     California-based SLS for installation of the JWFFM Chip. Kolitch Decl., ¶ 2, Ex. A. The
 6
 7   Court can therefore advance to the second prong of the test, i.e., whether Defendant’s acts
 8   were “expressly aimed” at California. To establish this, Future Motion must show that
 9
10   California is a “focal point both of [Defendant’s actions] and of the harm suffered.”

11   Axiom Foods, 874 F.3d at 1071 (quoting Walden v. Fiore, 571 U.S. 277, 287 (2014)).
12
            The Ninth Circuit has held that “a website’s operators can be said to have
13
14   ‘expressly aimed’ at a forum where a website ‘with national viewership and scope
15
     appeals to, and profits from, an audience in a particular state.’” AMA Multimedia, LLC v.
16
17   Wanat, 970 F.3d 1201, 1210 (9th Cir. 2020) (quoting Mavrix Photo v. Brand
18
     Technologies Inc., 647 F.3d 1218, 1231 (9th Cir. 2011)). Defendant’s own admissions
19
20   show this to be the case, by demonstrating that Defendant sells to California customers at
21   a rate more than ten times Defendant’s average sales rate to 45 U.S. states and 11 other
22
23   jurisdictions. Martin Decl., ¶¶ 12a-b.

24          Defendant surely knows that Future Motion is based in California and has a

25   significant customer base in California, because California is well-known as the place of

26   origin and U.S. epicenter of skateboarding. See, e.g., https://www.redbull.com/us-

27   en/history-of-skateboarding (describing the origins of skateboarding in California);
28   https://en.wikipedia.org/wiki/Skateboarding (providing a detailed history of California’s

     central role in the evolution of skateboarding). The fact that Defendant sells to customers

                                                    9
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 10 of 15




 1   in 56 jurisdictions but makes almost one-fifth of its sales to California customers
 2
     indicates that Defendant is well aware of Future Motion’s California customer base, and
 3
 4   that Defendant’s e-commerce website “appeals to, and profits from,” a California
 5
     audience.
 6
 7          Furthermore, although Defendant states that it has no “contractual relationships
 8   with anyone based on California for sales, distribution, or the like of its products” (Martin
 9
10   Decl., ¶ 5), Defendant recommends that its customers have the JWFFM Chip installed by

11   California-based SLS, and provides contact information for SLS on the JWFFM Chip
12
     product page of its website. See Kolitch Decl., ¶ 2, Ex. A. On information and belief, SLS
13
14   is a dba operated by Rhubarb LLC, a California corporation. Kolitch Decl., ¶ 3, Ex. B-C.
15
     In any event, the SLS terms and conditions of service are explicitly governed by
16
17   California law. Kolitch Decl., ¶ 3, Ex. B. SLS operates at least six retail locations in
18
     California, including one in Santa Cruz where Future Motion is headquartered. Kolitch
19
20   Decl., ¶ 4, Ex. D.
21          Defendant clearly has a sufficient relationship with California-based SLS to
22
23   instruct SLS on the installation of Defendant’s products, to refer Defendant’s customers

24   to SLS facilities for installation of Defendant’s JWFFM Chip into Future Motion’s

25   ONEWHEEL skateboards, and for SLS to accept Defendant’s referral of customers,

26   including California customers, for that purpose. In other words, an appreciable fraction

27   of the actual circumvention of Future Motion’s technological measures, which is the
28   subject of this action, almost certainly occurs in California at the direction, instruction,

     and/or recommendation of Defendant. This demonstrates that California is a “focal point

                                                    10
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 11 of 15




 1   both of [Defendant’s actions] and of the harm suffered,” and that Defendant’s acts are
 2
     “expressly aimed” at California. Axiom Foods, 874 F.3d at 1071 (quoting Walden v.
 3
 4   Fiore, 571 U.S. 277, 287 (2014)).
 5
           Defendant’s motion leaves several other, potentially important jurisdictional issues
 6
 7   unclear. For example:
 8
            Defendant states it does not maintain an “ongoing relationship with California
 9
10             customers.” Martin Decl., ¶ 3. However, Defendant does not indicate the extent
11             to which it has received Future Motion products from California customers,
12
               modified them by installing the JWFFM Chip and/or aftermarket batteries, and
13
14             shipped them back to California. Similarly, Defendant does not state whether it
15
               has repeat customers in California.
16
17          Defendant does not address whether it has done business directly with Future
18
               Motion by purchasing Future Motion products and having them shipped from
19
20             California to Defendant, or to persons acting in privity with Defendant. It is not
21
               clear how Defendant could have developed its JWFFM Chip and related
22
23             aftermarket batteries without obtaining Future Motion products.

24            Defendant admits that in addition to its e-commerce website, it “maintains a

25             YouTube Channel and a Facebook channel.” Martin Decl., ¶ 7. On information

26             and   belief,   Defendant     also    maintains   an   Instagram     channel    at
27
               https://www.instagram.com/jwbatteries/. Kolitch Decl., ¶ 5, Ex. E. Defendant
28
               does not address the extent to which Defendant’s website traffic, social media



                                                     11
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 12 of 15




 1              followers and/or page views come from California, or the extent to which
 2
                Defendant interacts via social media with California residents.
 3
 4           Defendant states that it “does not run any advertisements for its products in
 5
                California or otherwise.” Martin Decl., ¶ 10. However, it is apparent that
 6
 7              Defendant advertises its products through its social media channels. Kolitch
 8
                Decl., ¶ 6, Ex. F. Defendant does not address the extent to which California
 9
10              customers view and/or follow Defendant’s advertising links on its social media
11              pages.
12
            If the Court elects not to exercise specific jurisdiction over Defendant based on
13
14   jurisdictional facts already in the record, Future Motion is filing a motion for limited
15
     jurisdictional discovery to determine the extent to which Defendant has further expressly
16
17   aimed its activities at California, to address at least the points listed above.
18
            With respect to the last prong of the purposeful direction test, Defendant’s acts
19
20   have clearly caused harm that Defendant knows is likely to be suffered in California,
21
     because “a corporation can suffer economic harm both where the bad acts occurred and
22
23   where the corporation has its principal place of business.” Dole Food Co., Inc. v. Watts,

24   303 F.3d 1104, 1113 (9th Cir. 2002). In this case, Future Motion has its principal place of

25   business in California, and has alleged it has suffered both reputational and economic

26   harm. In addition, as described above, Future Motion alleges that at least some of the
27   installations of Defendant’s JWFFM Chips have occurred in California, based on
28
     Defendant’s relationship with, and referral of customers to, California-based SLS.




                                                      12
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 13 of 15




 1   Accordingly, Future Motion has suffered jurisdictionally sufficient harm in California,
 2
     even if it has also suffered harm in other forums.
 3
 4                     2.   Future Motion’s Claims Arise Out of Defendant’s Unlawful
                            Contacts with California
 5
 6          The second prong of the Ninth Circuit test requires that “the claim asserted in the
 7
     litigation arises out of the defendant’s forum related activities.” Panavision Int’l, L.P. v.
 8
 9   Toeppen, 141 F.3d 1316, 1322 (9th Cir. 1998). Future Motion’s DMCA, CFAA and
10
     Lanham Act claims all arise out of Defendant’s sales of JWFFM Chips, high-capacity
11
12   batteries, and trademark infringing stickers through an e-commerce website accessible to

13   users in California. Defendant admits selling almost one-fifth of its products into
14
     California, and refers customers to a California company for installation of the JWFFM
15
16   Chips. Furthermore, Defendant’s conduct has had the effect of injuring Future Motion in
17
     California, and but for Defendant’s conduct, this injury would not have occurred.
18
19   Accordingly, Future Motion’s claims arise out of Defendant’s California-related
20
     activities. Id.
21
22                     3.   Exercising Jurisdiction       over   Defendant    Would     Not    Be
                            Unreasonable
23
            Future Motion has shown that Defendant purposefully directed its conduct to
24
     California, and that its claims against Defendant arise from Defendant’s contacts with
25

26   California. Accordingly, the burden shifts to Defendant to present a “compelling case”

27   that the exercise of jurisdiction would not be reasonable. Burger King Corp. v.

28   Rudzewicz, 471 U.S. 462, 476–78 (1985). In Burger King, the Supreme Court articulated

     a seven-factor balancing test to address the question of reasonableness. Id. Defendant has


                                                    13
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 14 of 15




 1   not presented any argument that jurisdiction in California would be unreasonable, or cited
 2
     any of the factors enunciated by the Supreme Court in Burger King.
 3
 4          Here, the extent of Defendant’s purposeful direction is clear both from
 5
     Defendant’s exploitation of the California market at a rate ten times greater than its
 6
 7   average sales rate to other jurisdictions, and from Defendant’s referral relationship with a
 8   California company for installation of the JWFFM Chips in Future Motion’s products.
 9
10   Nor would Defendant be unduly burdened by litigating in California, particularly with

11   many civil hearings conducted remotely. California has an interest in adjudicating tort
12
     claims alleging wrongs against its residents, and Future Motion is entitled to its choice of
13
14   forum to obtain effective relief. Jurisdiction would not be unreasonable.
15
     IV.    DEFENDANT’S VENUE ARGUMENT IS REDUNDANT
16
17          Defendant has also moved to dismiss this action for improper venue, and alleges
18
     that Future Motion failed to plead the correct venue statute for its DMCA claim.
19
20   However, Defendant admits that venue and personal jurisdiction “are coextensive in this
21   case.” ECF No. 16, p. 16. Accordingly, Defendant’s argument regarding venue is
22
23   redundant, because if the Court determines that it has personal jurisdiction over

24   Defendant, venue will be proper. Accordingly, Future Motion will not respond further to

25   Defendant’s venue argument.

26   V.     FUTURE MOTION SHOULD BE GRANTED LEAVE TO AMEND

27          If this Court finds that Future Motion’s pleading of jurisdictional facts is deficient,
28   or that Future Motion failed to plead the correct venue statute for its DMCA claim,

     Future Motion respectfully requests that it be given leave to amend. Defendant cannot

                                                    14
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
     Case 3:21-cv-06771-EMC Document 18 Filed 11/08/21 Page 15 of 15




 1   meet the high burden of defeating the presumption that leave to amend be freely given.
 2
     Lopez v. Smith, 203 F. 3d 1122, 1127 (9th Cir. 2000). Furthermore, when a jurisdictional
 3
 4   objection is raised, leave to amend should be granted to cure jurisdictional defects. 28
 5
     U.S.C. § 1653. Future Motion has submitted facts establishing jurisdiction, and will
 6
 7   shortly (after conferring with Defendant’s counsel) file a motion for leave to conduct
 8   jurisdictional discovery to obtain additional facts that may be necessary to establish
 9
10   jurisdiction. Future Motion therefore respectfully requests that the Court grant it leave to

11   amend its Complaint and/or conduct jurisdictional discovery, should the Court find that
12
     the current record is insufficient to support jurisdiction.
13
14   VI.    CONCLUSION
15
            For the foregoing reasons, Future Motion respectfully requests that the Court deny
16
17   Defendant’s Motion to Dismiss.
18
19
     Dated: November 8, 2021                     Respectfully Submitted,
20
21                                               MICLEAN GLEASON LLP
22
23                                               By:        /s/ David J. Miclean
                                                            David J. Miclean
24                                                          Attorneys for Plaintiff Future Motion, Inc.

25   Dated: November 8, 2021                     Respectfully Submitted,
                                                 KOLITCH ROMANO LLP
26

27                                               By:        /s/ Shawn J. Kolitch
                                                            Shawn J. Kolitch (pro hac vice)
28                                                          Attorneys for Plaintiff Future Motion, Inc.




                                                       15
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
